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                             UNITED STATES DISTRICT COURT                         SEP O9 2022
                             SOUTHERN DISTRICT OF FLORIDA                         ANGELA E. NOBLE
                                                                                 CLERK U S. DIST CT.
                                                                                 S.D. OF FLA -WPB.
                                   CASE NO. 22-MJ-8332-BER


   IN RE SEALED SEARCH WARRANT                                FILED UNDER SEAL

   ___________ /
                                  MOTION TO SEAL NOTICE

          The United States of America moves the Court to place under seal, until further

   order. of the ·Court, the Notice Regarding Additional Partial Unsealing of Search Warrant,

   and the attachment to that notice, filed on September 9, 2022. In support of the Motion, the

   government states:

          1.     Courts have inherent power to control access to papers filed with the courts.

   Nixon v. Warner Communications, Inc., 435 U.S. 589, 598 (1978). Courts have traditionally

   been "highly deferential to the government's determination that a given investigation

   requires secrecy and that warrant materials be kept under seal." Times Mirror Co. v. United

   States, 873 F.2d 1210 (9th Cir. 1989). Therefore, courts have routinely granted government

   requests to seal warrant materials where there is a need for secrecy. See Washington Post v.

   Robinson, 935 F.2d 282, 289 (D.C. Cir. 1991).

          2.     The Notice contains a partially redacted vers10n of the search warrant

   affidavit, submitted in support of the search warrant signed and approved by the Court on

   August 5, 2022. This version contains fewer redactions than the previous, publicly unsealed

   affidavit. The full, unredacted affidavit remains under seal pursuant to an earlier order of the

   Court. A different, partially redacted version of the affidavit was ordered unsealed by the


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   Court, Docket Entries ("D.E.") 94 and 99, and is publicly available at D .E. 102-1. The

   version attached to the current, September 9, 2022 Notice contains revised redactions,

   which reveal additional information that has subsequently been revealed in public court

   filings in a•related civil case pending in this district, Trump v. United States ofAmerica, Case

   No. 9:22-cv-81294-AMC, and which the government has received authorization to disclose

   from the U.S. District Court for the District of Columbia.

          3.     In the interest of transparency, as well as the principle that limitations on

   public access to judicial proceedings should be "narrowly tailored," Globe Newspaper Co. v.

   Superior Court, 457 U.S. 596, 607 (1982), the government will move at the appropriate time

   to unseal this notice and all accompanying filings.

                                          CONCLUSION

          WHEREFORE, for these reasons, the United States of America respectfully requests

   that the Court issue an Order sealing the Notice Regarding Additional Partial Unsealing of

   Search Warrant and its accompanying attachment.




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   Dated: September 9, 2022                 Respectfully submitted,



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